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                BEFORE THE UNITED STATES JUDICIAL PANEL ON
                        MULTIDISTRICT LITIGATION




 In re: MultiPlan Health Insurance Provider        MDL No. 3121
 Litigation




                        SCHEDULE OF ADDITIONAL ACTION


                 Case Caption                  Court        Civil Action No.         Judge
  1 Plaintiff(s): Mehrnaz Jamali MD, Inc.     N.D. Cal.      5:24-cv-04508       Judge
                                                          (Filed July 25, 2024) Edward J.
     Defendant(s): Multiplan, Inc.,
     Multiplan, Corp., UnitedHealth                                              Davila
     Group, Inc., Aetna, Inc., Elevance
     Health, Inc., Centene Corp., Cigna
     Group, Health Care Service Corp.,
     Humana Inc., and Kaiser Permanente
     LLC


Dated: August 8, 2024                        Respectfully submitted,

                                             /s/ Shinae Kim-Helms
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